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             EXHIBIT 5
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Attorneys for Plaintiffs and the Putative Class


                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA

 RJ, as the representative of her beneficiary     Case No. 5:20-cv-02255-EJD
 son, SJ; LW as the representative of her
 beneficiary spouse, MW; and, DS, an              PLAINTIFF RJ’S THIRD SUPPLEMENTAL
 individual,
                                                  RESPONSES TO DEFENDANT CIGNA
                Plaintiffs,                       HEALTH AND LIFE INSURANCE
                                                  COMPANY’S FIRST SET OF
        v.                                        INTERROGATORIES
 Cigna Health and Life Insurance
 Company and MultiPlan, Inc.,

                Defendants.


       RESPONDING PARTY:              Plaintiff RJ

       PROPOUNDING PARTY:             Defendant CIGNA HEALTH & LIFE INSURANCE CO.

       SET NUMBER:                    ONE




                                          1
  PLAINTIFF RJ’S THIRD SUPPLEMENTAL RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
                   INTERROGATORIES, SET ONE CASE NO. 5:20-cv-02255-EJD
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TO DEFENDANT CIGNA HEALTH & LIFE INSURANCE CO. AND ITS ATTORNEY OF

RECORD:

       Plaintiff RJ responds as follows:

                                  INTRODUCTORY COMMENTS

       Respondent’s answers are given without prejudice to producing at the time of trial subsequently

discovered information or information omitted by said responses due to good faith oversight.

       In setting forth these responses, Plaintiff does not waive the attorney/client, work product, or

other privilege or immunity from disclosure which might attach to information called for in, or
responsive to, any request. In responding to any and all portions of any request, Plaintiff does not

concede the relevance or materiality of the request or the subject matter to which the request refers.

       These responses are submitted by Plaintiff subject to, and without in any way waiving or

intending to waive, but on the contrary, intending to reserve and reserving:

      All questions as to competency, materiality, privilege and admissibility as evidence for any

purpose of any of the documents referred to or responses given, or the subject matter thereof, and any

subsequent proceeding in, or trial of, this action or any other proceedings.

      The right to object to other discovery procedures involving or relating to the subject matter of

the requests herein responded to, including any request for production of documents specifically

identified herein; and

      The right at any time to revise, correct, add to, or clarify any of the responses set forth herein, or

documents produced or referred to herein.

                                      GENERAL OBJECTIONS

       1     Plaintiff RJ (“Plaintiff”) submits their responses subject to all objections ordinarily

available if such statements are offered in court. All such objections are hereby expressly reserved and

may be interposed at the time of trial or at any other time. No response to any Request is intended to be,

nor shall any response be construed as, a waiver by Plaintiff of all or any part of any objection to any

Request.

       2     Plaintiff’s research, discovery, and preparation for trial in this matter are presently ongoing

and are not yet complete. This response reflects only the information which is presently known to
                                          2
  PLAINTIFF RJ’S THIRD SUPPLEMENTAL RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
                   INTERROGATORIES, SET ONE CASE NO. 5:20-cv-02255-EJD
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Plaintiff based upon their knowledge to date. Plaintiff anticipates that continuing discovery and

investigation may reveal information not presently known to Plaintiff, or information whose significance

is not presently known to him, upon which Plaintiff may rely at trial. Accordingly, Plaintiff’s responses

to these Interrogatories is made without prejudice to Plaintiff’s right to produce additional information

at a later date and to introduce such information at the time of trial

       3     Plaintiff objects to each Interrogatory to the extent that it seeks information protected from

disclosure by the attorney-client privilege and/or the attorney work product doctrine and/or any other

privilege or immunity. The inadvertent production of such information shall neither constitute waiver
of any privilege nor a waiver of any rights. Plaintiff may have to object to the use of any of the

information in any subsequent pretrial proceedings or at trial.

       4     Plaintiff objects to each Interrogatory to the extent that it is overbroad and that it seeks the

production of information which is neither relevant to the subject matter of this litigation nor reasonably

calculated to lead to the discovery of admissible evidence.

       5     Plaintiff objects to each Interrogatory to the extent that it is vague and ambiguous and/or

creates confusion given the issues involved in this litigation.

       6     Plaintiff objects to each Interrogatory to the extent that it is burdensome and oppressive

and that compliance with specific requests would be unreasonably difficult and/or expensive.

       7     Plaintiff objects to the entire set of Interrogatories to the extent that it seeks information

equally available to the propounding party.

       8     Subject to these general objections and the specific objections below, Plaintiff will provide

responses indicated below in accordance with its obligations under the Federal Code of Civil Procedure.




                                          3
  PLAINTIFF RJ’S THIRD SUPPLEMENTAL RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
                   INTERROGATORIES, SET ONE CASE NO. 5:20-cv-02255-EJD
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       PRJ0001825
       PRJ0001826
       PRJ0001827
       PRJ0001832
       PRJ0001833
       PRJ0001834
       PRJ0001843
       PRJ0001851
       PRJ0001857
       PRJ0001860
       PRJ0001875
       PRJ0001878
       PRJ0001882
       PRJ0001892
       PRJ0001894
       PRJ0001902
INTERROGATORY NO. 13:
13. Please identify all individuals, entities, or agencies with which You have had Communications
regarding MultiPlan, any other repricing vendor including but not limited to Zelis (as referenced in
Paragraphs 316 and 324 of the Complaint), and Cigna’s relationship with MultiPlan or any other
repricing vendor including but not limited to Zelis and describe the substance of those
Communications.
ANSWER:
       In addition to the general objections stated above and those responses and objections

previously stated, Plaintiff responds as follows:
       Pursuant to Fed. R. Civ. P. 33(d) Plaintiff has elected to produce records:
       PRJ0001376
       PRJ0001387
                                         17
  PLAINTIFF RJ’S THIRD SUPPLEMENTAL RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
                   INTERROGATORIES, SET ONE CASE NO. 5:20-cv-02255-EJD
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    PRJ0001395
    PRJ0001399
    PRJ0001400
    PRJ0001415
    PRJ0001487
    PRJ0001497
    PRJ0001511
    PRJ0001516
    PRJ0001523
    PRJ0001526
    PRJ0001536
    PRJ0001542
    PRJ0001543
    PRJ0001811
    PRJ0001813
    PRJ0001814
    PRJ0001817
    PRJ0001821
    PRJ0001822
    PRJ0001823
    PRJ0001824
    PRJ0001825
    PRJ0001826
    PRJ0001827
    PRJ0001832
    PRJ0001833
    PRJ0001834
    PRJ0001841
                                       18
PLAINTIFF RJ’S THIRD SUPPLEMENTAL RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
                 INTERROGATORIES, SET ONE CASE NO. 5:20-cv-02255-EJD
       Case 5:20-cv-02255-EJD Document 143-1 Filed 01/12/23 Page 7 of 14




       PRJ0001843
       PRJ0001851
       PRJ0001860
       PRJ0001875
INTERROGATORY NO. 14:
       14. To the extent not identified above, please identify all individuals, entities, or agencies,
including but not limited to any Plan Sponsor or Cigna employees, with whom You (or Your counsel)
have communicated regarding the conduct alleged in the Complaint and describe the substance of
those Communications.
ANSWER:
       In addition to the general objections stated above and those responses and objections

previously stated, Plaintiff responds as follows:
       Pursuant to Fed. R. Civ. P. 33(d) Plaintiff has elected to produce records:
       PRJ0001376
       PRJ0001387
       PRJ0001395
       PRJ0001399
       PRJ0001400
       PRJ0001415
       PRJ0001487
       PRJ0001497
       PRJ0001511
       PRJ0001516
       PRJ0001523
       PRJ0001526
       PRJ0001536
       PRJ0001542
       PRJ0001543
                                         19
  PLAINTIFF RJ’S THIRD SUPPLEMENTAL RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
                   INTERROGATORIES, SET ONE CASE NO. 5:20-cv-02255-EJD
       Case 5:20-cv-02255-EJD Document 143-1 Filed 01/12/23 Page 8 of 14




       PRJ0001811
       PRJ0001813
       PRJ0001814
       PRJ0001817
       PRJ0001821
       PRJ0001822
       PRJ0001823
       PRJ0001824
       PRJ0001825
       PRJ0001826
       PRJ0001827
       PRJ0001832
       PRJ0001833
       PRJ0001834
       PRJ0001841
       PRJ0001843
       PRJ0001851
       PRJ0001860
       PRJ0001875
INTERROGATORY NO. 15:
       15. Please identify and describe any Communications and/or Documents You (or Your
counsel) sent to or received from state or federal governmental, legislative, and regulatory agencies
(including offices of Attorneys General and state and federal legislative committees and panels)
involving the conduct alleged in the Complaint.
ANSWER:
       In addition to the general objections stated above and those responses and objections

previously stated, Plaintiff responds as follows:
       Pursuant to Fed. R. Civ. P. 33(d) Plaintiff has elected to produce records:
                                         20
  PLAINTIFF RJ’S THIRD SUPPLEMENTAL RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
                   INTERROGATORIES, SET ONE CASE NO. 5:20-cv-02255-EJD
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Dated: September 27, 2022                ARNALL GOLDEN GREGORY LLP


                                         /S/ MATTHEW M. LAVIN
                                   By:        MATTHEW M. LAVIN
                                              AARON R. MODIANO

                                         Counsel For Plaintiffs and the Putative
                                         Class




                                       23
PLAINTIFF RJ’S THIRD SUPPLEMENTAL RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
                 INTERROGATORIES, SET ONE CASE NO. 5:20-cv-02255-EJD
     Case 5:20-cv-02255-EJD Document 143-1 Filed 01/12/23 Page 10 of 14



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13                                  UNITED STATES DISTRICT COURT

14                            NORTHERN DISTRICT OF CALIFORNIA

15

16   RJ, as the representative of her beneficiary         Case No. 5:20-cv-02255-EJD
     son, SJ; LW as the representative of her
17   beneficiary spouse, MW; and, DS, an                  Hon. Edward J. Davila
     individual,
18                                                        PLAINTIFF DS’S SECOND
                    Plaintiffs,                           SUPPLEMENTAL RESPONSES TO
19                                                        DEFENDANT CIGNA’S
            v.                                            INTERROGATORIES
20
     Cigna Health and Life Insurance Company and
21   MultiPlan, Inc.,
22                  Defendants.
23
            RESPONDING PARTY:              Plaintiff DS
24

25          PROPOUNDING PARTY:             Defendant CIGNA HEALTH & LIFE INSURANCE CO.

26          SET NUMBER:                    ONE

27

28

                                                               Plaintiff DS’s Second Supplemental Responses to
       Case No. 5:20-cv-02255-EJD                                              Defendant Cigna’s Interrogatories
     Case 5:20-cv-02255-EJD Document 143-1 Filed 01/12/23 Page 11 of 14



 1   TO DEFENDANT CIGNA HEALTH & LIFE INSURANCE CO. AND ITS ATTORNEY
 2   OF RECORD:
 3          Plaintiff DS responds as follows:
 4                                   INTRODUCTORY COMMENTS
 5          Respondent’s answers are given without prejudice to producing at the time of trial
 6   subsequently discovered information or information omitted by said responses due to good faith
 7   oversight.
 8          In setting forth these responses, Plaintiff does not waive the attorney/client, work product,
 9   or other privilege or immunity from disclosure which might attach to information called for in, or
10   responsive to, any request. In responding to any and all portions of any request, Plaintiff does not
11   concede the relevance or materiality of the request or the subject matter to which the request refers.
12          These responses are submitted by Plaintiff subject to, and without in any way waiving or
13   intending to waive, but on the contrary, intending to reserve and reserving:
14               All questions as to competency, materiality, privilege and admissibility as evidence
15   for any purpose of any of the documents referred to or responses given, or the subject matter
16   thereof, and any subsequent proceeding in, or trial of, this action or any other proceedings;
17                 The right to object to other discovery procedures involving or relating to the subject
18   matter of the requests herein responded to, including any request for production of documents
19   specifically identified herein; and
20               The right at any time to revise, correct, add to, or clarify any of the responses set forth
21   herein, or documents produced or referred to herein.
22                                         GENERAL OBJECTIONS
23          1     Plaintiff DS (“Plaintiff”) submits his responses subject to all objections ordinarily
24   available if such statements are offered in court. All such objections are hereby expressly reserved
25   and may be interposed at the time of trial or at any other time. No response to any Request is
26   intended to be, nor shall any response be construed as, a waiver by Plaintiff of all or any part of
27   any objection to any Request.
28
                                                        -2-
                                                                Plaintiff DS’s Second Supplemental Responses to
       Case No. 5:20-cv-02255-EJD                                               Defendant Cigna’s Interrogatories
     Case 5:20-cv-02255-EJD Document 143-1 Filed 01/12/23 Page 12 of 14



 1           2     Plaintiff’s research, discovery, and preparation for trial in this matter are presently
 2   ongoing and are not yet complete. This response reflects only the information which is presently
 3   known to Plaintiff based upon his knowledge to date. Plaintiff anticipates that his continuing
 4   discovery and investigation may reveal information not presently known to Plaintiff, or
 5   information whose significance is not presently known to him, upon which Plaintiff may rely at
 6   trial. Accordingly, Plaintiff’s responses to these Interrogatories is made without prejudice to
 7   Plaintiff’s right to produce additional information at a later date and to introduce such information
 8   at the time of trial.
 9           3     Plaintiff objects to each Interrogatory to the extent that it seeks information protected
10   from disclosure by the attorney-client privilege and/or the attorney work product doctrine and/or
11   any other privilege or immunity. The inadvertent production of such information shall neither
12   constitute waiver of any privilege nor a waiver of any rights. Plaintiff may have to object to the
13   use of any of the information in any subsequent pretrial proceedings or at trial.
14           4     Plaintiff objects to each Interrogatory to the extent that it is overbroad and that it seeks
15   the production of information which is neither relevant to the subject matter of this litigation nor
16   reasonably calculated to lead to the discovery of admissible evidence.
17           5     Plaintiff objects to each Interrogatory to the extent that it is vague and ambiguous
18   and/or creates confusion given the issues involved in this litigation.
19           6     Plaintiff objects to each Interrogatory to the extent that it is burdensome and
20   oppressive and that compliance with specific requests would be unreasonably difficult and/or
21   expensive.
22           7     Plaintiff objects to the entire set of Interrogatories to the extent that it seeks
23   information equally available to the propounding party.
24           8     Subject to these general objections and the specific objections below, Plaintiff will
25   provide responses indicated below in accordance with its obligations under the Federal Code of
26   Civil Procedure.
27

28
                                                         -3-
                                                                 Plaintiff DS’s Second Supplemental Responses to
       Case No. 5:20-cv-02255-EJD                                                Defendant Cigna’s Interrogatories
     Case 5:20-cv-02255-EJD Document 143-1 Filed 01/12/23 Page 13 of 14



 1          SUMMIT_00800 – SUMMIT_00809
 2          SUMMIT_00155 – SUMMIT_00158
 3   INTERROGATORY NO. 13:
 4          13. Please identify all individuals, entities, or agencies with which You have had
 5   Communications regarding MultiPlan, any other repricing vendor including but not limited to
 6   Zelis (as referenced in Paragraphs 316 and 324 of the Complaint), and Cigna’s relationship with
 7   MultiPlan or any other repricing vendor including but not limited to Zelis and describe the
 8   substance of those Communications.
 9   ANSWER:
10          In addition to the General Objections stated above and those responses and objections
11   previously stated, Plaintiff DS responds as follows:
12          Plaintiff has produced the responsive, relevant, non-privileged material within their
13   custody, care, or control following a diligent and thorough search.
14   INTERROGATORY NO. 14:
15          14. To the extent not identified above, please identify all individuals, entities, or agencies,
16   including but not limited to any Plan Sponsor or Cigna employees, with whom You (or Your
17   counsel) have communicated regarding the conduct alleged in the Complaint and describe the
18   substance of those Communications.
19   ANSWER:
20          In addition to the General Objections stated above and those responses and objections
21   previously stated, Plaintiff DS responds as follows:
22          Plaintiff has produced the responsive, relevant, non-privileged material within their
23   custody, care, or control following a diligent and thorough search.
24   INTERROGATORY NO. 15:
25          15. Please identify and describe any Communications and/or Documents You (or Your
26   counsel) sent to or received from state or federal governmental, legislative, and regulatory
27   agencies (including offices of Attorneys General and state and federal legislative committees and
28   panels) involving the conduct alleged in the Complaint.
                                                      -19-
                                                               Plaintiff DS’s Second Supplemental Responses to
       Case No. 5:20-cv-02255-EJD                                              Defendant Cigna’s Interrogatories
     Case 5:20-cv-02255-EJD Document 143-1 Filed 01/12/23 Page 14 of 14



 1          None.
 2          Discovery is ongoing, and Plaintiff reserves the right to supplement this response as new
 3   and relevant information becomes available and known.
 4   INTERROGATORY NO. 18:
 5          18. Please describe and quantify all Damages alleged by You in this Action, including the
 6   methodology (or anticipated methodology) for calculating such Damages.
 7   ANSWER:
 8          In addition to the General Objections stated above and those responses and objections
 9   previously stated, Plaintiff supplements their response as follows:
10          Pursuant to Fed. R. Civ. P. 33(d), Plaintiff has elected to identify records as to amounts
11   paid by Plaintiff that resulted because of Cigna’s underpayment of claims:
12          SUMMIT_00159 – SUMMIT_00161
13

14

15

16   Verification to follow.

17
      Dated: June 6, 2022                                    ARNALL GOLDEN GREGORY LLP
18

19                                                           /S/
                                                    By:              MATTHEW M. LAVIN
20                                                                   AARON R. MODIANO
21
                                                             Counsel For Plaintiffs and the Putative
22                                                           Class

23

24

25

26

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28
                                                      -21-
                                                                   Plaintiff DS’s Second Supplemental Responses to
       Case No. 5:20-cv-02255-EJD                                                  Defendant Cigna’s Interrogatories
